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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

 JOHN DOE,                                        : Case No. 1:16-cv-00987

                Plaintiff,                        : Judge Michael R. Barrett

 v.                                               :
                                                    DEFENDANTS’ RESPONSE IN
 UNIVERSITY OF CINCINNATI, et al.,                : OPPOSITION TO PLAINTIFF’S
                                                    MOTION FOR PARTIAL
                Defendants.
                                                  : SUMMARY JUDGMENT_____

        Defendants University of Cincinnati (“UC”), Aniesha Mitchell, and Juan Guardia

(collectively “Defendants”) submit this Response in Opposition to Plaintiff’s Motion for

a Partial Summary Judgment. (Doc. 40, “Motion”) This response is supported by the

following memorandum, the attached declaration, and the other record evidence.

                                 I.     INTRODUCTION

        John Doe’s Motion should be denied as there are at least genuine issues of

material fact relating to Counts I and II of his Amended Complaint. Counts I and II

both assert a claim that Defendants violated Mr. Doe’s procedural due process rights.

As this Court has noted, Plaintiff has represented that he is only pursuing declaratory

and injunctive relief. (Doc. 42 at Page ID 569; Doc. 40 at Page ID 525) This Court has

dismissed Plaintiff’s procedural due process claim based on allegations of bias, but

allowed Plaintiff’s procedural due process claim to proceed based on “Defendants’

failure to provide him with an opportunity to cross-examine Jane Roe.” (Doc. 42 at

Page ID 563) This Court has also dismissed Plaintiff’s Count III. (Id. at Page ID 568)

        As such, the only claim at issue is Plaintiff’s claim that Defendants violated his

procedural due process rights relating to Jane Roe’s non-attendance at the disciplinary



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hearing, resulting in Plaintiff’s entitlement to a declaratory judgment and a permanent

injunction. Because there are at least genuine issues of material fact as to whether Jane

Roe’s absence caused any legal prejudice to Plaintiff such that he can support an

ultimate finding that his procedural due process rights were violated, Plaintiff’s motion

for partial summary judgment should be denied.

                                       II.     FACTS

        A.    Facts and Procedure of John Doe’s Disciplinary Matter

        On September 28, 2015, Jane Roe reported to the UC Title IX Office that she had

been sexually assaulted by a fellow UC student. (Doc. 11-1 at Page ID # 143) On October

30, 2015, Jyl Shaffer, UC’s Title IX Coordinator at that time, interviewed Jane Roe

regarding her complaint. (Id.) Ms. Shaffer documented the allegations and included

her five pages of notes in the Title IX investigation file. (Id.)

        On November 6, 2015, Ms. Shaffer interviewed Jane Roe again. (Id.) Ms. Shaffer

again documented that interview, and included the additional five pages of notes she

took in the Title IX investigation file. (Id.) On December 18, 2015, Jane Roe reported to

the UC Police Department that she had been sexually assaulted by John Doe at his

residence during the late night/early morning hours of September 6-7, 2015. (Id. at

Page ID # 144) A copy of that report was included in the Title IX investigation file. (Id.)

        On February 19, 2016, Remy Barnett, the Program Coordinator for the UC Title

IX Office at that time and the Title IX investigator assigned to this complaint, notified

John Doe via email that a complaint of sexual assault had been filed against him by Jane

Roe and that, pursuant to the UC Title IX Grievance Procedure for Students and Third

Parties, the UC Title IX Office was investigating the complaint. (Id.) That notification



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also advised John Doe that he was permitted to have an advisor of his choice with him

throughout the process, but that advisors are not permitted to speak on the student’s

behalf throughout the process. (Id.) The notice also advised John Doe that he could

provide the names of witnesses and evidence that he believed was relevant to the

complaint, but that he was under no obligation to do so. (Id.) John Doe was also

advised that if he did not participate in the investigation, he could still provide

information during the Judicial Affairs process if the complaint was forwarded to the

Office of University Judicial Affairs for adjudication under the Student Code of Conduct.

(Id.) The notice concluded by encouraging John Doe to review the Student Code of

Conduct and the Title IX Grievance Procedure, and to contact Ms. Barnett if he had any

questions. (Id.)

        The February 19, 2016 correspondence also attached a copy of Jane Roe’s

complaint. (Id.) In addition to including specifics about the incident, including the

date, location, and specific acts that Jane Roe alleged occurred without her consent, the

complaint also provided a link to the UC Title IX Grievance Procedure for Students and

Third Parties, a link to the full UC Code of Conduct, and UC’s definitions for consent

and sexual/gender-based violence. (Id. at Page ID # 144-45)

         John Doe responded to the notice that evening, initially denying that he knew

Jane Roe. (Id.) However, John Doe later acknowledged that he remembered Jane Roe,

and asked Ms. Barnett about scheduling a time to have a conversation about the events

between him and Jane Roe. (Id.)

        On February 24, 2016, Ms. Barnett interviewed Jane Roe as part of the

investigation. (Id.) Similar to the previous interviews, Ms. Barnett documented the



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interview and included those notes (approximately five more pages) in the Title IX

investigation report. (Id.) Ms. Barnett followed up with Jane Roe on March 15, 2016, to

clarify a few of Jane Roe’s prior statements. (Id.) Ms. Barnett’s notes of that interview

were similarly included in the Title IX investigation report. (Id.)

        On March 4, 2016, Ms. Barnett contacted John Doe to schedule time for an

in-person interview. (Id.) On March 7, 2016, Ms. Barnett and Ms. Shaffer met with

John Doe for an in-person interview. (Id.) Both Ms. Barnett and Ms. Shaffer

documented their interview, including seven pages of notes of the interview in the Title

IX investigation file. (Id.) During the investigation, four individuals identified by Jane

Roe as persons with knowledge relevant to the investigation were also interviewed. (Id.)

Notes of those interviews were also included in the Title IX investigation file. (Id.) On

April 1, 2016, Jane Roe emailed Ms. Barnett with “edits for the file.” (Id.) A copy of that

email was included in the Title IX investigation file. (Id.)

        On April 11, 2016, Aniesha Mitchell, the Director of the Office of Student Conduct

and Community Standards (formerly known as University Judicial Affairs), sent John

Doe a letter advising him that the Title IX investigation was complete and attempting to

schedule a procedural review. (Doc. 11-2 at Page ID # 147) The procedural review was

scheduled for April 15, 2016. (Id.) During the procedural review, John Doe was given

the opportunity to discuss the Student Code of Conduct, review the incident report, and

review all other information related to the allegations that was available at that time.

(Id.) On April 18, 2016, Ms. Mitchell gave John Doe on-line access to a complete copy of

the Title IX investigation file. (Id.) John Doe confirmed that he was able to download

the file that evening. (Id.)



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        Eventually, after confirming the parties’ availability and the availability of enough

students and faculty for an Administrative Review Committee (“ARC”) Hearing, Ms.

Mitchell sent letters to John Doe and Jane Roe via email on May 27, 2016, advising

them that an ARC Hearing was scheduled for June 27, 2016, at 10:00 a.m. (Id. at Page

ID # 147-48) The parties were advised that they could submit a list of witnesses for the

hearing and additional evidence by June 10, 2016. (Id. at Page ID # 148) The parties

were advised that the list of witnesses and any other submitted evidence would be

provided to both parties by June 20, 2016. (Id.)

        The ARC Hearing was held on June 27, 2016. (Id.) Neither party submitted a list

of any witnesses nor did either party submit additional evidence prior to the hearing.

(Id.) Jane Roe was not present at the ARC Hearing, but she did submit a statement to

the ARC Hearing panel. (Id.)

        During the hearing, the chair of the ARC Hearing panel reviewed the contents of

the Title IX investigation report. (Id.) John Doe was then given an opportunity to give

his version of the events as well as provide any additional supporting information. (Id.)

John Doe pointed out a number of instances where he specifically disagreed with Jane

Roe’s version of the events. (Id.) The ARC Hearing panel then asked John Doe four

questions, one of which was just to clarify John Doe’s status as a graduate student. (Id.)

The other questions were focused on asking John Doe to clarify how he received consent

for the sexual activity between him and Jane Roe. (Id.)

        After this, Jane Roe’s statement was read. (Id. at Page ID # 149) To conclude the

hearing, John Doe was permitted to give a closing statement to the panel. (Id.) The




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ARC Hearing panel retired to deliberate, thereafter recommending that John Doe be

found responsible for violating the UC Student Code of Conduct. (Id.)

        The ARC panel’s written determination of responsibility stated: “We believe the

respondent is responsible based on his own account of the events that evening and the

evidence provided.” (Aniesha Mitchell Declaration at ¶ 2, Ex. 1) This finding is

supported by several of Plaintiff’s statements at the ARC hearing. For example, the

following colloquy occurred:

              [ARC Chair]: So, how did you go about getting consent for
              this encounter? What did consent, that night, mean to you?

              [Plaintiff]: Well, there was no like, “Is it okay if we have
              sex?” That didn’t happen.

              [ARC Chair]: Sure.

              [Plaintiff]: I can say that. That initial encounter, I kind of
              take it on a, like a point-by-point basis. Like I’ll move from
              one sector to like kissing for instance. We kiss and she
              kissed back. Like there’s no pushback, so move forward.
              And then I started feeling her breasts and hold her more
              embracingly [sic]. There was no, there was no pushback
              then. Kind of that kind of pattern.

              [ARC Chair]: Okay.

              [Plaintiff]: The only point at which there was pushback was
              at the point where we were both fully declothed [sic] and I
              said, “I’m going to get a condom,” and she said, “Hold on,
              wait a minute, just stop.” And then I stopped and we sat
              down and had a conversation.

              [ARC Chair]: Okay. Could you explain, in depth, what that
              conversation was like, just to the best of your knowledge or
              recollection?

              [Plaintiff]: The conversation was along the lines of, well, me
              asking questions, why she didn’t want to continue or why she
              had – I wasn’t upset, but I was, I was trying to understand



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               why she had let it escalate to this point and then wanted to
               stop then and there.

                                          **********
               [Plaintiff]: Yeah. We had a discussion and she couldn’t, she
               really didn’t give any king of answer as to why, she just kind
               of wanted to not move forward, I guess, but she wasn’t, she
               wasn’t being respondent [sic] to that, and then she just
               moved forward with it anyway.

(Doc. 16 at Page ID 202-204)

        In his closing statement, Plaintiff stated: “Well, I can’t deny that she feels this

way. I don’t how it lead [sic] up to this, to be completely honest. She – I’m just kind of

stupefied about how there’s such a different perspective of that night. Like, I don’t

understand. I feel bad that I didn’t fervently get consent from her. And I feel bad that

she didn’t just say something to stop. That’s really all I can say.” (Id. at Page ID 210)

        On July 8, John Doe submitted a four-page appeal, and on July 14 and 15, 2016,

he submitted an updated seven-page appeal and three character reference letters. (Id.)

On September 22, 2016, Rachel Jay Smith, the University’s Appeals Administrator,

rejected John Doe’s appeal of the finding of responsibility, but recommended a

lessening of John Doe’s sanction to a one-year suspension to begin at the end of the Fall

2016 semester and conclude at the end of the Fall 2017 semester. (Id.) On September

23, 2016, Juan Guardia, the Assistant Vice President and Dean of Students, accepted the

Appeals Administrator’s recommendations. (Id.)

                                    III.   ARGUMENT

        A.     There are at least genuine issues of material fact as to whether
               Jane Roe’s absence caused any legal prejudice to Plaintiff.

        “In order to prevail on a procedural due process challenge, Plaintiff must not just

show faulty procedure; he must also show prejudice.” Jahn v. Farnsworth, 33 F. Supp.


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3d 866, 873 (E.D. Mich. 2014), aff’d, 617 F. App’x 453 (6th Cir. 2015) (citing Graham v.

Mukasey, 519 F.3d 546, 549 (6th Cir. 2008)). “The merits of a procedural due process

claim do not need to be examined if there is no demonstration of prejudice.” Id. at

873-74 (citing Graham, 519 F.3d at 549). “In order to establish prejudice, Plaintiff

‘must show that the due process violations led to a substantially different outcome from

that which would have occurred in the absence of those violations.’” Id. at 874 (quoting

Graham, 519 F.3d at 549).

        The issue of prejudice has been confirmed as a necessary element by many courts

throughout the nation. See Jahn, 33 F. Supp. 3d at 874 (“Multiple courts have

determined that an admission of guilt is relevant to determine substantial prejudice.”)

(citing multiple cases); see also Joseph v. St. Charles Par. Sch. Bd., 736 F.2d 1036, 1038

(5th Cir. 1984) (“[T]o justify relief for a procedural due process failure in an

administrative proceeding, there must be a showing of substantial prejudice.”); Hickey

v. Chadick, No. 2:08-CV-0824, 2010 WL 11484581, at *14 (S.D. Ohio Aug. 5, 2010)

(“But in order to make out a claim for procedural due process, plaintiffs still have to

demonstrate prejudice.”) (citing numerous cases).

        In a reply memorandum, Plaintiff will likely contend that the Jahn court’s

citation to Graham is inapposite because Graham cited to Warner v. Ashcroft, 381 F.3d

534 (6th Cir. 2004), which is an immigration case. First, there is no indication from the

Sixth Circuit in either Graham or Warner that it intended to limit the need to show

prejudice under a due process claim to just immigration cases. In fact, the Sixth Circuit

has cited to Graham for the same proposition in cases dealing with much different

subject matter. See Shoemaker v. City of Howell, 795 F.3d 553, 563 (6th Cir. 2015).



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        Further, and perhaps more importantly, it is undisputed that the “prejudice”

showing is necessary in immigration cases and also in criminal cases involving

allegations of failure to disclose exculpatory evidence. See Strickler v. Greene, 527 U.S.

263, 281–82 (1999) (“There are three components of a true Brady violation: The

evidence at issue must be favorable to the accused, either because it is exculpatory, or

because it is impeaching; that evidence must have been suppressed by the State, either

willfully or inadvertently; and prejudice must have ensued.”).

        Of course, immigration cases involve the potential that an individual will be

removed from the country and criminal cases involve the potential that an individual

will lose his freedom. It stands to reason that in this case, where the potential sanctions

are much less, that a plaintiff must similarly show that the purported due process

violation actually caused the prejudice (i.e., finding of responsibility) of which he

complains. It also stands to reason that basic causation requirements necessitate that a

plaintiff must be able to show that the purported due process violation actually resulted

in the deprivation (i.e., prejudice) which the plaintiff wants undone. See, e.g., Horn by

Parks v. Madison Cty. Fiscal Court, 22 F.3d 653, 659 (6th Cir. 1994) (“[A] violation of a

federally secured right is remediable in damages only upon proof that the violation

proximately caused injury.”).

        Plaintiff will also likely try to distinguish the above school discipline cases,

including Jahn, on the basis that many of those cases involved an individual admitting

to the conduct at issue. Defendants are not contending that Plaintiff admitted to the

violation nor are Defendants contending that everyone who sat through the ARC panel

hearing would necessarily have found Plaintiff responsible. But that is not the issue.



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This ARC panel did find him responsible based on his own statements, and there is at

least reasonable support in the transcript of that ARC hearing for that finding.

        At the very least, there is a genuine issue of material fact which should be

resolved by a jury regarding whether Jane Roe’s absence caused any legal prejudice to

Plaintiff such that he can support an ultimate finding that his procedural due process

rights were violated. This is supported by the fact that courts are not meant to be in the

business of acting as a “super-appeals court for sexual misconduct cases.” Doe v. Brown

Univ., 210 F. Supp. 3d 310, 313 (D.R.I. 2016); see also Doe v. Phillips Exeter Acad., No.

16-CV-396-JL, 2016 WL 6651310, at *2 (D.N.H. Nov. 10, 2016); (“In effect, these counts

seek appellate review of the investigator’s factual findings and conclusions. That is not

the court’s role in . . . cases such as this.”); Gomes v. Univ. of Maine Sys., 365 F. Supp.

2d 6, 14 (D. Me. 2005) (stating that it is not the court’s task “to make an independent

determination about” the underlying events).

        As mentioned above, the ARC panel expressly stated in its finding of

responsibility that it found Plaintiff responsible for violating the Student Code of

Conduct based upon Plaintiff’s own statements at the ARC hearing. See Chalmers v.

Lane, No. CIV.A.3:03-CV-1268-B, 2005 WL 169990, at *9 (N.D. Tex. Jan. 25, 2005)

(“Because Chalmers failed to present evidence that the outcome of the disciplinary

proceedings would have been different had Defendants not committed the due process

violations he alleges, Chalmers has not met his burden of demonstrating that he was

substantially prejudiced by any alleged due process violations.”).

        At the very least, Plaintiff’s contention that Jane Roe’s absence from the

disciplinary hearing resulted in an unconstitutional finding of responsibility should be



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put to a jury in light of the ARC panel’s statement that it found Plaintiff responsible

based upon his own statements. This Court should not act as a super-appeals court and

find that because Jane Roe was not present at the hearing that it would have been

impossible for the ARC panel to have found Plaintiff responsible, especially in light of

the fact that the ARC panel has expressly stated that it found him responsible based

upon his own statements at the hearing.

        Plaintiff will also likely argue that the “prejudice” inquiry is irrelevant to the due

process analysis, relying upon Carey v. Piphus, 435 U.S. 247 (1978). But Carey actually

confirms that it is essential to the analysis. The Carey Court began its analysis citing to

the court of appeals’ statement that “if petitioners can prove on remand that

respondents would have been suspended even if a proper hearing had been held, then

respondents will not be entitled to recover damages to compensate them for injuries

caused by the suspensions.” Id. at 260. The Carey Court noted that the parties did not

disagree with the court of appeals’ conclusion and stated, “Nor do we.” Id. The Carey

Court, thus, agreed that a plaintiff had no cause of action relating to the suspension

where the suspension was proper. Rather, the Carey Court’s focus was on whether

mental and emotional distress damages are recoverable if they are incurred and flow

directly from the due process violation(s) itself, not the ultimate deprivation.

        “Although mental and emotional distress caused by the denial of procedural due

process may be compensable under section 1983, damages should not be presumed to

flow from every deprivation of due process.” Sutton v. Cleveland Bd. of Educ., 958 F.2d

1339, 1352 (6th Cir. 1992) (citing Carey, 435 U.S. at 262–63). “Moreover, where a

deprivation is justified but the procedures are deficient, the distress a person feels may



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be attributable to the justified deprivation rather than to deficiencies in procedure.” Id.

(citing Carey, 435 U.S. at 263). “Consequently, a plaintiff is required ‘to convince the

trier of fact that he actually suffered distress because of the denial of procedural due

process itself.’” Id. (quoting Carey, 435 U.S. at 263) (emphasis added). “[T]he injury

caused by a justified deprivation, including distress, is not properly compensable under

§ 1983.” Carey, 435 U.S. at 263 (emphasis added).1

        In other words, Carey stands for the proposition that Plaintiff might be able to

recover mental and emotional distress damages or nominal damages “because of the

denial of procedural due process itself,” not because of a justified finding that he

violated the University’s Code of Conduct. However, as this Court has noted, “Plaintiff

has represented that he is only pursuing declaratory and injunctive relief.” (Doc. 42 at

Page ID 569) If Plaintiff was seeking only to recover mental and emotional distress

damages or nominal damages, perhaps this matter would be in a different posture. But

he is not. Rather, he is asking that this Court permanently set aside the ARC panel’s

finding because of Jane Roe’s non-attendance, despite the fact that that the ARC panel’s

finding of responsibility was based on Plaintiff’s own account of the events.

        Because there are at least genuine issues of material fact as to whether Jane Roe’s

absence caused any legal prejudice to Plaintiff such that he can support an ultimate

finding that his procedural due process rights were violated, Plaintiff’s motion for partial

summary judgment should be denied.



1The Supreme Court’s Zinermon v. Burch decision also did not reject Defendants’ argument regarding the
need to show prejudice. The Zinermon decision notes that Carey “went on to say . . . that in cases where
the deprivation would have occurred anyway, and the lack of due process did not itself cause any injury
(such as emotional distress), the plaintiff may recover only nominal damages.” 494 U.S. 113 n. 11 (1990)
(citing Carey, 435 U.S. at 264).

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        B.     The Sixth Circuit’s opinion does not foreclose this matter from
               proceeding.

        Many of the facts in this matter have been the subject of briefing on a motion for

preliminary injunction, briefing before the Sixth Circuit Court of Appeals, and briefing

on a motion to dismiss. As this Court is aware, the primary issue underlying the motion

for preliminary injunction and the Sixth Circuit Court of Appeals’ decision is the fact

that Jane Roe – the student who accused Plaintiff of sexual misconduct – was not

present at the disciplinary hearing to be questioned by the ARC panel or Plaintiff. Based

upon this fact, this Court held that Plaintiff was likely to succeed on the merits of his

procedural due process claim, and the Sixth Circuit agreed.

        However, one fact that was not the subject of briefing nor was it discussed in the

context of this Court’s and the Sixth Circuit’s decisions is that the ARC panel’s decision

that Plaintiff was responsible for violating the University’s sexual misconduct policy was

based on Plaintiff’s own statements at the ARC panel hearing. Instead, based upon the

record evidence before the Sixth Circuit on appeal of the preliminary injunction, the

Sixth Circuit concluded that “the Committee’s finding of responsibility necessarily

credits Roe’s version of events and her credibility.” Doe v. Univ. of Cincinnati, 872 F.3d

at 401. But that is not the full picture. As the ARC panel’s written finding demonstrates,

it found Plaintiff “responsible based on his own account of the events that evening and

the evidence provided.” (Mitchell Decl. at ¶ 2, Ex. 1)

        With this additional evidence, the Sixth Circuit’s “limited holding” in Doe v.

University of Cincinnati, 872 F.3d 393, 405 (6th Cir. 2017) confirms that this matter is

not foreclosed from proceeding based solely on the fact that Jane Roe was not present at

the ARC hearing. As the Sixth Circuit stated, “[c]ross-examination may be unnecessary


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where the University’s case does not rely on testimonial evidence from the

complainant.”2 Id. at 405 (citation and internal quotation omitted). The Sixth Circuit

also stated: “nothing in our decision jeopardizes UC’s ability to rely on hearsay

statements” and “UC may still open the hearing with a Title IX report summary that

includes the parties’ ‘out-of-court’ statements, and the ARC panel may still rely on those

statements in deciding whether Doe is responsible for violating the Code of Conduct—it

need not demand that Roe and Doe recite the evening’s events from memory.” Id. at

405 (citations omitted). As mentioned above, these statements were made in the

context that the Sixth Circuit’s opinion provided a “limited holding.” Id.

        In other words, the University is permitted to rely on Jane Roe’s “out-of-hearing”

statements to decide whether Plaintiff is responsible for violating the Code of Conduct

and cross-examination may not be necessary where the hearing panel’s decision is not

based solely on Jane Roe’s testimonial evidence. 3 That is what appears to have

happened here. The ARC panel found Plaintiff “responsible based on his own account of

the events that evening and the evidence provided.” (Mitchell Decl. at ¶ 2, Ex. 1)

        If Plaintiff’s motion is granted, it would mean that in any case involving similar

“claims of alleged sexual assault or harassment . . . [w]here perpetrators often act in

private” (Doe v. Univ. of Cincinnati, 872 F.3d at 406) and where the alleged victim does

not attend the disciplinary hearing to be questioned, colleges and universities are not



2 Disciplinary matters are not the “University’s case.” Hearing panels are boards of inquiry (see Doe v.
Cummins, 662 F. App’x 437, 439 (6th Cir. 2016)); there is no prosecutor nor is there any member of
administration that acts in a prosecutor-like function to advocate for a “conviction.”
3 In closing, the Sixth Circuit stated: “we emphasize that UC’s obligations here are narrow: it must

provide a means for the ARC panel to evaluate an alleged victim’s credibility, not for the accused to
physically confront his accuser.” Id. at 406. But where the hearing panel’s decision was based on
Plaintiff’s own statements, the hearing panel’s need to evaluate the alleged victim’s credibility must
considerably lessen.

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permitted to find the accused responsible based on the accused’s own statements at the

hearing. Again, Defendants are not saying that everyone who sat through the

disciplinary hearing at issue (or who has reviewed the transcript of the hearing) would

have come to the same conclusion as this disciplinary panel, but such a holding would

ignore the reality that sometimes the accused’s own statements provide enough for a

disciplinary hearing panel to conclude that the accused has violated the code of conduct.

At the very least, there are genuine issues of material fact as to whether this is such a

case, and that determination should be submitted to a jury.

                                  IV.    CONCLUSION

        For each and all of the foregoing reasons, Defendants request that this Court

deny Plaintiff’s Motion for Partial Summary Judgment.

                                                  Respectfully submitted,

                                                  MICHAEL DEWINE
                                                  Attorney General of Ohio

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                               CERTIFICATE OF SERVICE

        I certify that on April 30, 2018, I filed Defendants’ Response in Opposition to

Plaintiff’s Motion for Partial Summary Judgment with the Clerk of Court using the

CM/ECF system, which will send notification of the filing to all registered parties.



                                                  /s/ Doreen Canton




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